                 IN THE UNITED STATES DISTRICT COURT FOR
                    THE EASTERN DISTRICT OF TENNESSEE
                            KNOXVILLE DIVISION


GREGORY ELLIOTT,                              )
                                              )
                   Plaintiff,                 )
                                              )
v.                                            )     No. 3:04-CV-612
                                              )
HOUSEHOLD BANK,                               )
ARIEL MENDOZA,                                )
FINKELSTEIN, KERN, STEINBERG &                )
CUNNINGHAM,                                   )
TIMOTHY L. EDINGTON,                          )
RON CUNNINGHAM,                               )
PAUL E. McLEMORE, and                         )
JEFF D. RADER,                                )
                                              )
                   Defendants.                )


                                     ORDER

             For the reasons stated in the memorandum opinion filed contemporaneously

with this order, defendant Jeff D. Rader’s motion to dismiss [doc. 36] is GRANTED.

Defendant Jeff D. Rader is DISMISSED from this civil action.



             IT IS SO ORDERED.


                                                    ENTER:


                                                            s/ Leon Jordan
                                                       United States District Judge




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